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                            UNITED STATES DISTRICT COURT


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UNITED S TES OF AMERICA                                Honorable Douglas Arpert

                       v.                       :      Mag. No. 12-2547 (DA)

JUSTIN RUBLOWITZ

                                                       ORDER FOR CONTINUANCE


       This matter having been opened to the Court by Paul J. Fishman, United States Attorney

for the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing),

and defendant JUSTIN RUBLOWITZ (James R. Murphy, Esq., appearing), for an order granting

a continuance of the proceedings in the above-captioned matter; and five continuances having

previously been granted; and the defendant being aware that he has the right to have the matter

presented to a Grand Jury within thirty (30) days of the date of his arrest pursuant to Title 18

U.S.C. § 3161; and the defendant through his attorney having waived such rights and consented

to the continuance; and for good and sufficient cause shown,

       IT IS THE FFNDLNG OF THIS COURT that this action should be continued for the

following reasons:

               1.    Plea negotiations currently are in progress, and both the United States and the

       defendant desire additional time to enter a plea in Court, which would thereby render trial

       of this matter unnecessary.

              2.     Defendant has consented to the aforementioned continuance.

              3.     The grant of a continuance will likely conserve judicial resources.

              4.     Pursuant to Title 18 of the United States Code, Section 3161(h)(7)(A), the

      ends of justice served by granting the continuance outweigh the best interests of the

      public and the defendants in a speedy trial.
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           IO 2013 through July 12, 2013; and it is turther

                  ORDtRED that the period between frrn May 10,
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